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                            IN THE UNITED STATE DISTRICT COURT

                                  FOR THE DISTRICT OF IDAHO


JASON WOOD, ALICIA WOOD, and                                    Case No. 1:18-cv-168
WILDWOOD RANCH, LLC,

        Plaintiffs,

v.                                                         COMPLAINT AND DEMAND
                                                              FOR JURY TRIAL
ELAM & BURKE, PROFESSIONAL
ASSOCIATION,

        Defendant.

         Plaintiffs Jason and Alicia Wood (husband and wife), and Wildwood Ranch, LLC, for cause

of action against the above-named defendant, alleges as follows:

                                                  I.

                           JURISDICTION, VENUE, AND PARTIES

         1.       This case arises under the Fair Debt Collection Practices Act (FDCPA), 15 U.S.C.A.

§ 1692, et seq.




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       2.      This Court has subject-matter jurisdiction over this action pursuant to 15 U.S.C.A.

§ 1692k(d), 28 U.S.C. § 1331, and 28 U.S.C. § 1367.

       3.      WildWood Ranch, LLC, is an Idaho Limited Liability Company owned by its

members, T. Jason Wood and K. Alicia Wood, husband and wife (hereinafter collectively “the

Woods”). At all material times the Woods are and were persons, individuals, and consumers within

the meaning of the FDCPA.

       4.      Defendant Elam & Burke, Professional Association (hereinafter “Elam & Burke”),

is, and at all material times was, a professional association organized pursuant to the laws of the

State of Idaho, with its principal place of business in the City of Boise, County of Ada, State of

Idaho, and a debt collector within the meaning of the FDCPA.

       5.      Matthew L. Walters is, and at all material times was, a duly licensed attorney, owner,

shareholder, employee, agent and representative of Elam & Burke, acting in his individual capacity

and in the course and scope of his employment with and agency for Elam & Burke.

       6.      Venue is proper in the Southern Division (Boise) of the District of Idaho under 28

U.S.C. § 1391(b)(1), because that is the judicial district and division in which Elam & Burke resides.

                                                 II.

                     BACKGROUND AND FACTUAL ALLEGATIONS

       7.      WildWood is the owner of Lot 2 (hereinafter “the Ranch”) of a

residential/recreational property development consisting of six (6) lots each situated on the north

bank of the Fall River in Fremont County, Idaho, called “The Reserve on Fall River” (hereinafter

the “Reserve”).




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       8.      The Reserve was developed in 2005-2006 as an exclusive residential development

for expensive vacation or recreational homes to be constructed and used in harmony with the wild,

riparian natural environment as well as with the agricultural heritage and history of the area.

       9.      As a part of the development, the developers imposed upon each Lot therein certain

Covenants, Conditions and Restrictions (“CC&Rs”), and formed a home owner’s association called

the Reserve on Falls River Home Owner’s Association, Inc. (“HOA”) to enforce the CC&Rs and

regulate the use of the properties in the Reserve.

       10.     The HOA and CC&Rs were and are unusual in the breadth and extent of the power,

control and regulation they purport to retain of the lot owner’s use of their own property, as well as

in the ambiguities arising from the many conflicting provisions in the CC&Rs, the purpose and/or

effect of which to give the Munsons the ability to interpret the CC&Rs to mean whatever they

wanted.

       11.     The developers of the Reserve, Drake and Lora Munson (“Munsons”), husband and

wife, retained 2 lots within the Reserve and retain them to the present day, in order to maintain

control of the HOA and the manner and extent of other Reserve lot owners’ use of their properties.

       12.     The other lot owners were original investors in the development and pledged their

complete support and their HOA votes to the Munsons, each lot owner having invested $450,000

in the Munsons and their development.

       13.     The investors intended to resell their undeveloped lots for profit, not to build or reside

on the property themselves. In fact, from the time of their acquisition of their respective lots until

the present, neither they nor the Munsons have but rarely ever placed a foot on them much less built




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anything on them. The HOA is therefore an association of investors in bare ground not of home

owners.

       14.     When the nationwide real estate crash/bubble burst of 2008 hit the Reserve, the land

was still largely undeveloped, without no structures having been built thereon, and no one had

purchased any of the lots. With the crash, the value of the original investors’ interest in the Reserve

dropped to a small fraction of their original investment, much to their dismay and distress. Given

the slow pace of economic recovery, years went by with the land undeveloped and unimproved, the

individual investors absent and living out-of-state, and the entire development falling into disrepair.

       15.     Wildwood acquired the Ranch from the Woods, who purchased it in June 6, 2016 for

their dream home, at a cost of less than a third of what the Munsons or any of their investors/lot

owners invested in their own lots. It was tremendously disturbing to them, that what they envisioned

as an extremely highbrow, exclusive, gated recreational community could be invaded by riffraff like

the Woods who until now were priced out of membership.

       16.     Adding salt to the wounds of the Munsons and their minions, the Woods had acquired

the best lot in the Reserve. The Reserve is located on a remote, partially wooded stretch of the Fall

River. The Fall River is a wild, freestone tributary of the Henry’s Fork of the Snake River,

originating in the southwest corner of Yellowstone Park, just a few miles east of the Ranch. The

Ranch is by far the best and most valuable lot in the Reserve. Lot 3 through 6 of the Reserve are

located on what was until recently farm ground – a treeless bluff several hundred feet above and

overlooking the Fall River but with unobstructed views of the Teton Mountain Range. Lot 1 is

located entirely in the river bottom with no views of the Tetons, and it is burdened by a road that

allows access to Lot 2 (the “Ranch”). Unlike all the other lots, the Ranch possesses the best of the


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other 5 lots. Namely, roughly half of it is situated in the river bottom with mature cottonwood trees,

quaking aspens, with 600 feet of river frontage, which is used as a corridor for abundant and diverse

wildlife migration, while the other half is are located on the bluff above, with unobstructed views

of the Tetons and the ability to build on either or both. The Ranch also is the only lot unburdened

by an access road – the access road to the Ranch (which approaches from upriver) dead-ends at the

nearest Ranch boundary and there are no means of entry to the Ranch from down river because the

river meets a cliff face just beyond the down river border, cutting off any approach from that

direction and granting the Woods almost complete solitude and seclusion. These features are unique

not only to any other properties on the Fall River, they are rare for available properties in the entire

Henry's Fork drainage.

       17.     During its entire existence the HOA, with the complete allegiance of the other

investors/owners in the Reserve, the Munsons ran the HOA and the Reserve as their own personal

dictatorship, violating the HOA bylaws and CC&Rs whenever it benefitted them, while insisting

upon strict compliance by the Woods not only to the HOA bylaws and CC&Rs but also to the

Munsons’ whims which were not embodied in any HOA bylaw or CC&R. They did this knowing

that even in the unlikely event of a legal challenge and even more unlikely event the HOA did not

prevail, the could still recover their attorney fees and litigation costs from the Woods and other

members through the imposition of HOA dues which could be recovered involuntarily by non-

judicial lien and foreclosure. Indeed, at one point the Munsons threatened to bar the Wood from

access to their property altogether if the Woods did not bow to the Munsons’ whims. In sum, even

if the Woods prevailed on a legal challenge to the arbitrariness and caprice of the Munsons and the

HOA, the Woods still lose.


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       18.     Although not a single home or building has ever been constructed in the Reserve, the

Munsons conceded in various email communications that their purpose in oppressing the Woods was

basically to force the Woods to either single-handedly rescue them from their financial losses in the

real estate crash of 2008 by compelling the Woods to build and maintain a Taj Mahal of the West

that would drive up their property values, or, failing that, to force the Woods out of the Reserve.

       19.     With little time left before a meeting was to be held to amend the CC&Rs and bylaws

to make it easier for the Munsons to accomplish their oppressive purposes, on July 21, 2017 the

Woods quickly filed a lawsuit against the HOA, the Munsons and other lot owners, seeking

preliminary and permanent injunctive relief against the proposed amendments, as well as for

damages.

       20.     Unfortunately the Woods were unable to prepare and present a motion for temporary

restraining order and preliminary injunction in time to prevent the proposed amendments to the

bylaws and CC&Rs from being enacted.

       21.     The urgency in prosecuting the complaint having passed, the Woods took no further

action. They did not submit to the Court any proposed Summonses and did not serve process on the

defendants, primarily because, as set forth above, in all likelihood even if they won they would lose.

Consequently, none of the defendants in that lawsuit were ever served process.

       22.     Nevertheless, on December 13, 2017, on behalf of the HOA and Munsons, Matthew

Walters (acting for defendant Elam & Burke) sent an email to the Woods demanding payment of

Reserve HOA dues, alleged to be due and owing in the amount of $4,167.00 and assessed to cover

attorney fees the HOA allegedly incurred in excess of $19,000 to defend the Woods’ lawsuit that had

never been served on and in which none of the defendants had entered an appearance.


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       23.     Walters further threatened the Woods that if they did not pay the $4,167.00 within

30 days, pursuant to Article 5 of the CC&R’s the Woods would be assessed “a late fee of 10% which

shall continue to accrue every 30 days thereafter, and failure to pay such amounts within 60 days

from the due date shall result in 2 late fees being assessed and a lien being placed on the lot.

       24.     Mr. Wood immediately disputed the debt and requested verification thereof,

specifically demanding the attorney fees invoices supporting the claimed debt. The Woods made

this demand because they had reason to doubt the validity and amount of the absurdly huge attorney

fees sum in light of the fact that the complaint had never been served, the defendants had not

appeared, and the HOA’s and Munsons’ history of malice, oppression, and retaliation against the

Woods.

       25.     Walters repeatedly refused Mr. Wood’s verification request and continued in his

attempts to collect the alleged debt, despite being advised of his statutory duties under the FDCPA.

       26.     In his dunning email referenced above, and in subsequent communications, Walters

(on behalf of Elam & Burke) committed the following violations of the FDCPA:

               a.      He failed to give notice to the Woods:

                       i.      That they had thirty (30) days to dispute the validity of the debt,

                       ii.     That he would obtain verification of the debt, if the Woods made a

dispute in writing within such 30-day period, or

                       iii.    That he was attempting to collect a debt and that any information

obtained may be used for such purpose;

               b.      He gave the Woods only 30 days to pay the debt after which a 10% late fee

would be assessed;


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               c.      He gave the Woods only 60 days to pay the debt after which 2 late fees would

be assessed and a lien placed on the Woods’ property.

               d.      He failed, and indeed expressly refused, to provide the requested invoices or

even provide the most basic verification of the alleged debt;

               e.      He continued to communicate with the Woods in an attempt to collect the

debt, after having been advised that they disputed the debt and would not pay it without the requested

validation;

               f.      He implied that nonpayment may result in seizure of the Woods’ property in

the Reserve, by stating that the creditor would place a lien on it;

               g.      He impliedly threatened to take non-judicial action to repossess the Woods’

property, by stating that the creditor would place a lien on it, without the present right to do so;

               h.      Falsely represented:

                       i.      The character, amount, or legal status of the alleged debt; and

                       ii.     He could lawfully receive compensation as the debt collector;

               i.      Implied that nonpayment of the alleged debt might result in the seizure,

attachment, or sale of the Woods property; and

               j.      Threatened to take action that he knew legally could not be taken.

       27.     In committing the foregoing acts and omissions, Elam & Burke conspired and acted

in concert with the HOA, the Munsons and its other members punish the Woods, harass them into

submission, and either acquire the Woods’ lot by manufacturing a lien upon which they would




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foreclose or force the Woods to sell the property to someone of sufficiently high class or more

malleable to their will, by deliberately or falsely incurring unnecessary and excessive attorney fees

and litigation costs in defense of a lawsuit that had never been served on the HOA, charging those

fees and costs to the Woods as HOA “dues,” and attempting to collect them.

       28.     Elam & Burke continued to act in accordance with this purpose in again

manufacturing HOA dues to charge the Woods based upon dubious unnecessary attorney fees when,

in January 2018, after expiration of the deadline for service of the complaint, Elam & Burke

unnecessarily appeared (despite never having been served with the complaint) and filed a motion to

dismiss, in concert with the other Reserve members. Elam & Burke did so not on the grounds that

the complaint was not timely served but on substantive grounds and only for a partial dismissal with

prejudice.

       29.     When the parties could not reach a settlement of the lawsuit, the Woods voluntarily

dismissed the lawsuit by notice pursuant to Rule 41(a)(1)(A)(i), before the defendants filed an

answer or motion for summary judgment. Nevertheless, Walters repeatedly threatened to file a

motion for award of attorney fees, knowing there was no basis in law or fact for such a motion or

award of attorney fees, for the same improper, oppressive, unconscionable, and ulterior purposes as

set forth above.

       30.     Ultimately a settlement was reached. Nevertheless, Walters, on behalf of Elam &

Burke, continues to attempt to indirectly collect the foregoing debt for the same improper,

oppressive, unconscionable, and ulterior purposes as set forth above.




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                                                  III.

                                       CAUSES OF ACTION

        31.     Elam & Burke’s actions as alleged above constituted false, deceptive, and/or

misleading representations or means in connection with the collection of a debt, in violation of the

FDCPA, 15 U.S.C.A. § 1692e.

        32.     Elam & Burke’s actions as alleged above constitute unfair or unconscionable means

to collect or attempt to collect a debt, in violation of the FDCPA, 15 U.S.C.A. § 1692f.

        33.     Elam & Burke failed to give the proper notices and validation in violation of the

FDCPA, 15 U.S.C.A. §§ 1692e and 1692g.

        34.     Elam & Burke willfully acted in the use of legal process not proper in the regular

course of the proceeding for ulterior, improper purposes, as set forth above.

        35.     The Woods are not required to characterize their legal theories stated by the facts

alleged above, and in doing so they do not thereby assume such a duty and expressly hereby disclaim

it. They further reserve the right to identify any additional causes of action or claims for relief which

are stated by the foregoing facts.

                                                  IV.

                                             DAMAGES

        36.     As a direct and proximate result of Elam & Burke’s unlawful conduct alleged above,

the Woods have incurred actual damages which include but are not limited to mental and emotional

distress, suffering, and loss of enjoyment of life, and attorney fees they were forced to incur in

responding to Elam & Burkes’ FDCPA violations and abuses.




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          37.     As a direct and proximate result of Elam & Burke’s unlawful conduct alleged above,

the Woods are also entitled to an award of statutory damages for each discrete statutory violation in

an amount not to exceed $1,000 each, pursuant to 15 U.S.C. § 1692k(a)(2)(A).

                                                         V.

                                               ATTORNEY FEES

          38.     The Woods are entitled to an award of their costs of this action and reasonable

attorney fees incurred herein, pursuant to 15 U.S.C. § 1692k(a)(3).

                                                        VI.

                                                 JURY DEMAND

          The Woods demand a trial by a jury comprised of the maximum number of jurors allowed

by law.

                                                        VII.

                                            PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs pray for the judgment of the Court against defendant as follows:

          1.      For actual damages as described above in such amounts to be proven at trial;

          2.      For statutory damages for each discrete violation, not to exceed $1,000 each;

          3.      For an award of costs of suit and reasonable attorney fees they incur herein;

          4.      For such further relief in the Woods’ favor as the Court deems just.

                  DATED this 17th day of April, 2018.

                                                       WOOD LAW GROUP, PC


                                                       By:     /s/
                                                               T. Jason Wood, Esq.
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